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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )          (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH,               )
JARRELL W. WALKER, JR.,            )
and JOSEPH R. CROSBY               )


                        OPINION AND ORDER

    This case is before the court on the government’s

motion to continue trial.         Jury trial for all defendants

is currently set for January 9, 2012.            The government has

proposed that trial be set for January 30, 2012.                        All

defendants consent to this request.             For the reasons set

forth below, the government’s motion will be granted and

the trial will be reset for January 30, 2012.

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.
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Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       The Act provides in part:

          “If the defendant is to be tried again
          following a declaration by the trial
          judge of a mistrial or following an
          order of such judge for a new trial, the
          trial shall commence within seventy days
          from the date the action occasioning the
          retrial becomes final.”

18 U.S.C. § 3161(e).         The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”       §    3161(h)(7)(A).          In    granting      such     a

continuance,      the   court    shall    consider,        among   other

factors, whether the failure to grant the continuance

would     “result       in   a     miscarriage        of     justice,”

§ 3161(h)(7)(B)(i), and “[w]hether the case is so unusual

or so complex, due to the number of defendants, the

nature of the prosecution, or the existence of novel

questions of fact or law, that it is unreasonable to



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expect       adequate       preparation”       without         granting     a

continuance.        § 3161(h)(7)(B)(ii).

       For the reasons given in the government’s current

continuance        motion     (in      particular,       the    scheduling

conflicts), the court concludes that, in this case, the

ends of justice served by granting a continuance outweigh

the     interest     of   the       public   and   all    defendants       in

receiving a trial on the currently scheduled date.

       Because, as the court finds, “the ends of justice

served     by   [granting       a   continuance    until       January     30,

2012,] outweigh the best interest of the public and the

defendant[s] in a speedy trial,” § 3161(h)(7)(A), the

period of time from the date of this order to January 30,

2012, is excludable under the Speedy Trial Act.

                                      ***

       Accordingly, it is ORDERED as follows:

       (1) The government’s motion to continue trial (Doc.

No. 1849) is granted.

       (2) The jury selection and trial for defendants



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Milton E. McGregor, Thomas E. Coker, Larry P. Means,

James E. Preuitt, Harri Ann H. Smith, Jarrell W. Walker,

Jr., and Joseph R. Crosby, now set for January 9, 2012,

are reset for January 30, 2012, at 10:00 a.m., in the

Frank M. Johnson Jr. United States Courthouse Complex,

Courtroom 2FMJ, One Church Street, Montgomery, Alabama.

    DONE, this the 4th day of October, 2011.



                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
